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                        IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION



PACIFIC GULF SHIPPING CO.,                       § Case No.  3:________________
                                                 §
                      Plaintiff,                 §
                                                 § CORPORATE DISCLOSURE
v.                                               § STATEMENT
                                                 §
ADAMASTOS SHIPPING & TRADING                     § IN ADMIRALTY
S.A., VIGOROUS SHIPPING & TRADING                §
S.A., BLUE WALL SHIPPING LTD., and               §
PHOENIX SHIPPING & TRADING S.A.,                 §
                                                 §
                      Defendants.                §

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and to enable Judges and

Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned

counsel of record for Plaintiff, certifies that Plaintiff PACIFIC GULF SHIPPING CO. is a

privately-held company with no publicly traded parents or subsidiaries.




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                                   Corporate Disclosure Statement
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Dated: December 3, 2018



                                          Respectfully submitted,

                                          SCHWABE, WILLIAMSON & WYATT, P.C.



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                             Corporate Disclosure Statement
